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                 APPENDIX A
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SBA                                    soP s0 10 s(K)




Lender and Development
Company Loan Programs




                          Office of Financial Assistance

                          U.S. Small Business Administration
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                                         SMALL BUSINESS ADMINISTRATION
                                        STANOARD OPERATING PROCEDURE

 SUBJECT:                                                                        s.o.P                       REV


                                                                       SECTION                NO.
 Lender and Development Company Loan Progtams                           50                    l0          5(K)

                                                   INTRODUCTION

   .1. Purpose: Update SOP 50 l0 5(K) Lender and Development Company Loan Programs.
   2.  Personnel Concerned: All SBA Employees
   3.  SOP Canceled: None. Previous edition ofSOP 50 l0 will continue to have applicability to loans that
       were approved during their effective time periods.
   4. Updated Information: This full update ofSOP 50 l0 5 is necessary for the SOPto conform to recently
       revised regulations in l3 CFR Part 120, and to provide guidance that clarifies and streamlines policy
       and procedures affecting the 7(a) and 504 programs. This version, which will be SOP 50 l0 5(K),
       includes revised guidance in the following general areas:

        a)   Incorporates regulatory changes published in the May 7,2018, Final Rule on Debt Refinancing in
             504 Loan Program (83 FR 19915), effective June 6, 2018;

        b)   Incorporates the availability of 504 Debentures with a maturity of 25 years, in accordance with the
             Federal Register Notice published April 4,2018, available for 504 Projects approved on or after
             April 2, 2018;

        c)   Incorporates policy changes published in SBA Policy Notice 5000-17057, effective       April 3,2018,
             including:
          i.    Revised guidance on credit elsewhere for 7(a) and 504 loans;
         ii.    Clarified the minimum cquity requirements for 7(a) loans involving change ofownership
                tuansactions between existing owners;

        iii.    Provided additional guidance regarding the eligibility of marijuana-related businesses and
                hemp-related businesses; and
         iv.    Reduced the minimum monitoring requirements for Working Capital CAPLines; and

        d)   Clarifies guidance for SBA Lenders (7(a) lenders and CDCs) on the delivery of 7(a) loans
             (including SBA Express, Export Express, Export Working Capital Program and Intemational
             Trade) and 504 program loans.

   5.   Originator: Oflice of Capital Access



 AUTHORIZED BY:                                                                                EFFECIIVE DATE

William M. Manger                                                                          April 1,2019
Associate Administrator
Capital Access
                                                                                               Page I
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           accorded to each class of stock or members interest (including voting rights, redemption rights, and
           rights of convertibility) and conditions for transfer, sale, or assignment ofthese interests;
      4.   The proposed SBLC's geographic area ofoperation;
      5.   Identification ofall officers, directors, managing partners, managing members, key employee(s) of
           lender (an employee who manages daily operations, e.g., overseeing a department or a division, not a
           clerical staffposition), and all other individuals or entities that propose to hold an equity interest ofat
           least l0% ofthe economic interest in any class of stock or ownership interest in the proposed SBLC
           (such identification should include a discussion ofany prior SBA experience);

               a.   An organization chart showing the relationship of the proposed SBLC with all related
                    associates and affiliates within the organization;

              b. All individuals     or entities identified in palagraph 5 above must submit an executed S&\ Ig11I
                    f,!!f, and eithel a Form FD-258 (fingerplint card) or electronic fingerprint submission.
                    "Electronic fingerprint submission" is defined in Subpart B, Chapter 2,
                    Paraqraph III.A.l3.d.iv ofthis SOP. SBA Form l08l and the Form FD-258 or electlonic
                    fingerprint submission must be signed and dated within 90 days of submission to SBA.
               c.   A director or key employee of the lender organization is only required to submit either Form
                    FD-258 (fingerprint carQ or electionic fingerprint submission if the director or key employee
                    answered affirmatively to questions l0a, l0b, l0c, I la and/or l lb on the SBA Form l08l '

      6.   Proofoffidelity insurance coverage as detailed in l3 CFR       [   120.470(e)'

      7. A comprehensive         business plan that details:

               a.   The nature ofproposed operations, including the organizational units involved in sourcing,
                    evaluating, underwriting, closing, disbursing servicing and liquidating small business loans in
                    the organization;

               b.   The identification of all sources of capital used to finance lending operations;
               c.   An operations plan detailing the nature ofthe Lender's proposed loan activity, the volume of
                    activity projected over the first 3 years as an SBA Lender, projected balance sheets, income
                    statements and statement of cash flows of the Lender, with altemative profit and loss
                    scenarios based on run rates equivalent to 700lo and 50% ofprojected loan activity, the type
                    and projected amount of financing needed to support its lending plan, along with a discussion
                    ofLender's proposed winddown plan in the event the Lender decides to leave the program;
               d.   A detailed analysis of the Lender's projected secondary malket activities during the fir'st
                    3 yearc ofoperation, including a sensitivity analysis ofthe effect any changes in premium
                    from the sale ofthe guaranteed portion of7(a) loans in SBA's secondaty malket may have on
                    the Lender's prospective earnings. The analysis must also include a descliption ofthe
                    Lender's plans (ifany) to securitize or sell participations in the unguaranteed portion of 7(a)
                    loans; and
               e.   If the Lender intends to acquire any 7(a) loans, a written plan detailing the extent ofthis
                    acquisition activity in its operating plan, and how the Lendet will manage the transition ofthe
                    7(a) loan portfolio;
       g. All documents associated        with any type of external financing expected to be undertaken by the

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                     lll   A small business is acquiring another small business through an asset purchase;
                     IV    An Ernployee Stock Ownership Plan (ESOP) or equivalent trust is purchasing a
                           controlling interest (51%) irr the employer (Note: any transaction costs
                           associated with the purchase of the controlling interest by the ESOP or
                           equivalent trust, bttt not costs associated with setting up the trust, may be
                           included in the use of proceeds) (13 CFR $ I20.3526));
                     v     A small business is obtaining a loan for the sole purpose of re-lending the
                           funds to an ESOP or equivalent trust to acquire a controlling interest in the
                           small business (Note: any tmnsaction costs associated with making the loan to
                           the ESOP or equivalent trust, but not the costs associated with setting up the
                           trust, may be included in the use of proceeds); or
                     vl.   A cooperative is purchasing a controlling interest (51%) in the employer (Note:
                           any transaction costs associated with the purchase of the controlling interest,
                           but not costs associated with setting up the cooperative, may be included in the
                           use ofproceeds).

      2.    The seller may not remain as an officer, director, stockholder or key employee (an employee
            who manages daily operations, e.g. overseeing a department or a division, not a clerical staff
            posirion) of the business. 0_3_QFR*$I-2O_!!-Q) If a short transitional period is needed, the
            small business may contract with the seller as a consultant for a period not to exceed 12
            months including any extensions.
            When the purchaser is an ESOP or equivalent trust or a cooperative and is acquiring a
            controlling interest (51 percent or more) in the employer business, the seller may stay on as
            an owner, officer, director, stockholder or key employee of the company; however, any seller
            who rcmains as an owner, r'egardless of percentagb of ownership interest, must provide their
            guaranty in accordance with the requirements of Chapter 4, Paragraph II.A. of this Subpart.

      3.    An SBA-guaranteed loan cannot be made solely to an individual. The small business must be
            either the Bonower or a Co-Bou'ower as follows:
                a.   In a change of ownership under section V.H. t.b.i. or V.H.l.c.ii. above, the small
                     business and the individual owne(s) must be co-Bomowers. In addition, the Note
                     must be executed, jointly and severally, by both the individual(s) who acquires the
                     ownership interest(s) and the small business whose ownership intetest is being
                     acquired. If the small business denies liability for the debt based on an alleged failure
                     of consideration under applicable state law, SBA may deny liability on its guaranty.
                b.In a change of ownership under section V.H.l .b.ii. above, the small business must be
                  the Bonower and the Lender may require the remaining owner(s) to be Guarantor(s)
                  in accordance with the requirements for pemonal guaranties set forth in Chapter 4,
                  Paragraph II of this Subpart. In a change of ownership under section V.H. I .c.i. or
                  c.iii. above, the acquiring entity may be the Bonower or the acquiring entity and the
                  small business being acquired may be Co-Bomowers.
       4.   The Lender must comply with the requirements for IRS verification identified in Chapter 5




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            collateral must be taken to secul'e a loan are based on the circumstances of the individual
            loan, including size, and must meet the minimum requirements set forth in this section.
       2.   Adequacy of Collateral
               a. A loan request is not to be declined    solely on the basis of inadequate collateral. In
                    fact, one of the primary  reasons Lenders use the SBA-guaranteed program is for
                    those Applicants that demonstrate repayment ability but lack adequate collateral to
                    repay the loan in full in the event of default. However, SBA does not permit its
                    guaranty to be a substitute for available collateral.
               b.   When assessing the adequacy of collateral, the Lender must consider the impact that
                    covenants and other restrictions recorded against the collateral may have on its value
                    and marketability. (See Chapter 2, Paragraph II.D.8 of this Subpart for guidance on
                    covenants and other restrictions recorded against the collateral when the Applicant is
                    operating under a franchise agreement.) The Lender must document this analysis in
                    the file. Examples of items to review include:
                    i.     Deed restrictions, covenants, easement provisions, reversionary interests,
                           subordinations, leases and options, and other provisions that restrict the use of
                           the property for the benefit of a third party (note: certain deed restrictions
                           pertaining to the use of the property, which are intended to protect the health
                           and safety of occupants, may be acceptable, e.g., deed restrictions based upon
                           environmental concerns including restrictions on residential use, use as a day
                           care center for children or seniors, use as a school, or use as a hospital); and

                    ii.    Engineering Controls that require the Applicant or subsequent owners to install
                           costly devices or structures such as extraction wells or subsurface barrier walls
                           prior to constructing a building, remodeling, or otherwise improving the
                           propefty.
       3.   Collateral Requirements for 7(a) Small Loans.
               a.   For loans of $25,000 or less, the Lender is not required to take collateral. (personal
                    guaranties must still be obtained in accordance with paragraph A above); and
               b.   For loans over $25,000, up to and including $350,000, the Lender must follow the
                    collateral policies and procedures that it has established and implemented for its
                    similarly-sized non-SBA guaranteed commercial loans, but at a minimum:
                    i.     Lender must take a first lien on assets financed with loan proceeds;
                    ii.    Lender must take a lien on all of the Applicant's fixed assets, including real
                           estate, up to the point that the loan is fully secured, based on the collateral
                           valuations used in paragraph 4.a) below. Lender is not required to take a lien
                           against Applicant's real estate when the equity is less than25Yo of the fair
                           market value. The Lender may limit the lien taken against real estate to the
                           amount necessary to ensure the loan is fully secured; and
                    iii.   Lender may secure Applicant's trading assets if it does so for its similarly-
                           sized non-SBA guaranteed commercial loans. Lender may also take
                           personally-owned investment and/or residential rcal estate as collateml, and

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   B. Delegated Lenders processing          loans under their delegated authority must obtain and retain the
      documentation listed below in their file.
   C. With the exception of 7(a) Small Loans, for all loans submitted   using the non-delegated process
      through the LGPC (including loans fi'om delegated Lenders using this processing method),
      LendJr must obtain and retain in its file all documentation listed below. In addition, Lender
      must submit as palt of the Application for guaranty those items below emphasized in bold.
       l.   Lender must complete and sign SBA Form 1920.
      2.    Applicants and Associates must complete and sign SBA Fonn 1919, "Bonower lnformation
            Fom." SBA Form l9l9 must be signed by the following:
               a.      For a sole proprietorship, the sole proprietor;
               b.      For a partnership, all general partners, and all limited paftners owning 20olo or more
                       of the equity of the firm, or any paftner that is involved in management of the
                       applicant business;
               c.      For a corporation, all owners of 20Yo or more of the corporation and each officer and
                       director;
               d.      For limited liability companies (LLCs), all members owning     20o/o or more of   the
                       company and each officer, director, and managing member;
               e.      Any person hired by the business to manage day-to'day operations ("Key
                       Employee"); and
               f.      Any Trustor (if the Small Business Applicant is owned by a trust).
                       When 20Yo or more ownefship interest is held by a cotporation, paftnerchip or other
                       form of tegal entity in the Applicant, OC, or parent company, the ownership interests
                       of all individuals must be disclosed.
               g.      When the combined ownership interest between spouses is20o/o or more, both
                       spouses must complete SBA Form 1919.

            A separate Section I of SBA Form l9l9 is required to be completed and signed for each co-
            applicant (e.g. Eligible Passive Company (EPC) and Operating Company (OC).
       3.   Lender's Credit Memo must address all requirements detailed in Chapter 4, Credit and
            Collateral.
       4.   SBA Form 912:
               a. If questions       17, 18, and   l9 of SBA Form l9l9   are all answeted "no," SBA Form 912
                       is not required.
               b.      If question 17 is answered "yes," the loan is not eligible.
               c.      If question l8 or   19 is answered      the Subject Individual must complete SBA
                                                            "y..,"
                       Foim 912 and Lender must follow the steps as outlined in Chapter 2, Paragraph
                       III.A.13.d of this Subpart prior to submission of the application to the LGPC for a
                       non-delegated loan and prior to submitting the request for a loan number for a
                       delegated loan.


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soP s0 l0 s(K)                                                                                     Subpart C


                     If the nature of the business requires a resident owner or manager, loan proceeds
                     rnay be used for the purchase of an existing building(s) or construction of a new
                     building(s) that includes residential space essential to the business. The square
                     footage of the residential space must be appropriate to the needs of the business, not
                     to exceed 49Yo of the total property. For example, a horse-boatding facility
                     traditionally requires that someone be on premises at all times to care for the horses.
                     In this case, the residential propefty would be considered to be occupied by the
                     business.

   K. Change of Ownership:
        l.   Projects that result in a change of ownership are eligible under the following circumstances:
                a.   The 504 Project finances only the costs associated with eligible long-term fixed
                     assets; the acquisition of any other assets such as receivables or goodwill is not an
                     eligible use of 504 loan proceeds or Third Party Loan proceeds and must be financed
                     by other means, which may include a 7(a) loan;
                b.   The application documents that jobs will be created or netained because of the
                     change of ownership. The application must demonstrate that there is a reasonable
                     basis upon which to conclude that the retained jobs would be lost without the change
                     of ownership. This can be in the form of a statement from the seller to that effect
                     with supporting facts or other certification acceptable to the SLPC.
        2.   The 504 loan proceeds must not be used to purchase stock or any other ownership interest in
             a business unless, by purchasing the stock or other ownership interest, the Applicant is
             purchasing the real estate where the Applicant business is located and/or other eligible long-
             term fixed assets used in the Applicant's business operation. To the extent the value of the
             stock or other ownership interest exceeds the value of the real estate and/or other eligible
             long-term fixed assets ("excess value"):
                a.   The excess value cannot be financed by the Project financing; it must be financed
                     separately; and
                b.   The excess value must be de minimis compared to the value of the real estate and/or
                     other eligible long-term fixed asset(s).
        3.   The change of ownership must result in the Applicant owning 100% of the business.
        4.   The seller may not remain as an officer, director, stockholder or key employee (an employee
             who manages daily operations, e.g. overseeing a department of a division, not a clerlcal staff
             position) of the business.
        5. All other 504 Loan Program         Requirernents must be met.

   L.   Loan Proceeds to Finance a Third Party Lender's Other RealEstate Owned (OREO) (13 CFR $
        120.923\:
        Where loan proceeds      will   be used to finance a   Third Party Lender's own OREO property, the
        application must:
        l.   Be submitted to the SLPC (delegated authority may not be used to ptocess these
             applications);

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